                     IN THE SUPREME COURT OF NORTH CAROLINA

                                          2021-NCSC-105

                                             No. 528A20

                                     Filed 24 September 2021

     IN THE MATTER OF: D.J.


           Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) from an order entered on 18

     September 2020 by Judge Beverly Scarlett in District Court, Orange County. This

     matter was calendared for argument in the Supreme Court on 19 August 2021 but

     determined on the record and briefs without oral argument pursuant to Rule 30(f) of

     the North Carolina Rules of Appellate Procedure.


           Stephenson &amp; Fleming, LLP, by Deana K. Fleming, for petitioner-appellee
           Orange County Department of Social Services.

           Michelle FormyDuval Lynch for appellee Guardian ad Litem.

           Wendy C. Sotolongo, Parent Defender, by J. Lee Gilliam, Assistant Parent
           Defender, for respondent-appellant mother.


           BARRINGER, Justice.

¶1         Respondent appeals the trial court’s order which terminated her parental

     rights to her minor child, D.J. (Daniel).1 The trial court found that grounds existed to

     terminate respondent’s parental rights pursuant to N.C.G.S. § 7B-1111(a)(1) and (2)

     and that termination was in Daniel’s best interests. Respondent has not challenged

     on appeal the trial court’s conclusion that the grounds for termination pursuant to


           1 A pseudonym is used to protect the identity of the minor child and for ease of reading.
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     N.C.G.S. § 7B-1111(a)(1) and (2) existed or that termination was in Daniel’s best

     interests. Instead, respondent argues that the trial court erred by denying her

     counsel’s motion to continue the termination hearing and that the trial court failed

     to comply with the requirements of the Indian Child Welfare Act (ICWA). Since we

     conclude that respondent has failed to show prejudice from the trial court’s denial of

     the motion to continue and, further, since we conclude that the trial court has now

     sufficiently complied with the ICWA as it pertains to Daniel, we reject respondent’s

     arguments and affirm the trial court’s termination-of-parental-rights order.

                                     I.      Background

¶2         Petitioner Orange County Department of Social Services (DSS or OCDSS) first

     became involved with respondent and Daniel on 30 January 2019 when it received a

     Child Protective Services (CPS) report that respondent appeared to be impaired while

     visiting a children’s museum with Daniel. A DSS social worker responded to the scene

     where respondent acted disorganized and agitated, swayed back and forth while

     standing, and had difficulty maintaining a linear conversation. When respondent

     could not identify an alternative caretaker for Daniel, the social worker attempted to

     locate a temporary safety provider. Respondent became agitated and uncooperative

     and fled from DSS and law enforcement with Daniel. DSS and law enforcement

     attempted unsuccessfully to locate respondent and Daniel in the vicinity of the

     children’s museum.
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¶3         The next day, on 31 January 2019, DSS filed a petition alleging that Daniel

     was a neglected and dependent juvenile. In addition to recounting the incident at the

     children’s museum, the petition alleged that respondent had a prior CPS report

     involving Daniel in Randolph County and another in Forsyth County. DSS was also

     granted nonsecure custody of Daniel. Respondent and Daniel were eventually located

     at a nearby apartment complex.

¶4         On 7 March 2019, DSS filed an amended petition, adding allegations regarding

     prior CPS reports involving respondent and Daniel in Guilford County and Durham

     County and respondent’s history of substance abuse and mental health issues. After

     a hearing on the amended petition on 21 March 2019, the trial court entered an order

     adjudicating Daniel as a neglected and dependent juvenile on 30 April 2019. The trial

     court’s order also incorporated by reference the court report prepared by DSS in which

     it stated that respondent “has reported American Indian heritage and letters have

     been mailed to the identified tribes.”

¶5         DSS filed a motion in the cause to terminate respondent’s parental rights on

     26 February 2020. In the motion, DSS alleged two grounds for termination: neglect

     and willful failure to make reasonable progress in correcting the conditions that led

     to Daniel’s removal. See N.C.G.S. § 7B-1111(a)(1)–(2) (2019).

¶6         The termination motion was called for a hearing on 6 August 2020.

     Immediately before the termination hearing, the trial court heard a motion to
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continue that had been filed by respondent’s counsel to secure the testimony of a

witness who worked at Lincoln Community Health Center. Respondent’s counsel

recounted his attempts to secure the witness’s testimony and indicated that “[his]

understanding in talking with the Lincoln Community [Health] Center was that they

would not let [the witness] come [testify].” The trial court denied the motion to

continue but ruled that the witness could testify by phone or Webex and afforded

respondent’s counsel the opportunity to contact the witness during an impending

thirty-minute recess to determine if she would testify via telephone or Webex.

Respondent’s counsel then made an offer of proof as follows:

             I’d just like to make an offer of proof on this that [the
             witness] has had contact and ha[s] been involved with
             [r]espondent[-m]other since, I think, about May of last
             year, that [r]espondent[-m]other gets several services at
             Lincoln Community [Health] Center including I think
             there’s a substance abuse treatment. There’s a psychiatrist
             and maybe another—a therapist involved also.

                   [The witness] is sort of a—what she calls a bridge
             counselor, that she’s able to connect these services, so she’s
             aware of these services. Also she sees [respondent-mother],
             my understanding is, once or twice a month. I don’t know
             exactly how it was going through COVID. I think it might
             have been [by] telephone[ ], but [respondent-mother] called
             in regularly to her and also attended the, you know,
             Lincoln Community [Health] Center.

                    So I just think in terms of the information she could
             offer in court, it would be extremely valuable.

Counsel for DSS in response clarified that there is no dispute that respondent gets
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     some services at Lincoln Community Health Center and that DSS had contact with

     Lincoln Community Health Center and received some information from them.

     Counsel for DSS then had a case social worker inform the trial court of her contact

     with the witness and her attempts to obtain records from the witness which were

     ultimately unsuccessful. Finally, DSS’s counsel raised that Lincoln Community

     Health Center was in Durham but that respondent indicated she was traveling from

     her home in Mount Airy. The trial court subsequently took a scheduled recess.

¶7         After the recess, respondent’s counsel informed the trial court that he was

     unable to get in contact with the witness despite calling her and leaving her

     voicemails. The termination hearing then proceeded. Approximately twenty-five

     minutes later, respondent’s counsel received a response from the witness indicating

     that her employer would not allow her to testify. After DSS concluded its presentation

     of evidence for the adjudicatory phase of the termination hearing, respondent’s

     counsel renewed the motion to continue. The trial court again denied the motion.

¶8         After the termination hearing, the trial court entered an order terminating

     respondent’s parental rights in Daniel. The trial court found that grounds existed to

     terminate respondent’s parental rights pursuant to N.C.G.S. § 7B-1111(a)(1) and (2)

     and that termination was in Daniel’s best interests. The order was amended on 18

     September 2020, with the trial court reaching the same conclusions in the amended

     order. Respondent appealed.
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                                    II.   Motion to Continue

¶9           Respondent contends that the trial court erred by denying her motion to

       continue. Respondent submits that she was prejudiced by her inability to examine

       the witness who worked at the Lincoln Community Health Center during the

       termination hearing.

¶ 10         “Ordinarily, a motion to continue is addressed to the discretion of the trial

       court, and absent a gross abuse of that discretion, the trial court’s ruling is not subject

       to review.” In re A.L.S., 374 N.C. 515, 516–17 (2020) (quoting State v. Walls, 342 N.C.

       1, 24 (1995)). “Abuse of discretion results where the [trial] court’s ruling is manifestly

       unsupported by reason or is so arbitrary that it could not have been the result of a

       reasoned decision.” Id. at 517 (quoting State v. Hennis, 323 N.C. 279, 285 (1988)).

                            In reviewing for an abuse of discretion, we are
                     guided by the Juvenile Code, which provides that
                     continuances that extend beyond 90 days after the initial
                     petition shall be granted only in extraordinary
                     circumstances     when    necessary     for   the proper
                     administration of justice. Furthermore, continuances are
                     not favored and the party seeking a continuance has the
                     burden of showing sufficient grounds for it. The chief
                     consideration is whether granting or denying a
                     continuance will further substantial justice.

       In re J.E., 377 N.C. 285, 2021-NCSC-47, ¶ 15 (cleaned up).

¶ 11         “If, however, the motion [to continue] is based on a right guaranteed by the

       Federal and State Constitutions, the motion presents a question of law[,] and the

       order of the [trial] court is reviewable.” In re A.L.S., 374 N.C. at 517 (quoting State v.
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       Baldwin, 276 N.C. 690, 698 (1970)). However, when “[the respondent] did not assert

       in the trial court that a continuance was necessary to protect a constitutional right,”

       this Court does not review the trial court’s denial of a motion to continue on

       constitutional grounds. In re A.L.S., 374 N.C. at 517; see also In re J.E., ¶ 14. Instead,

       the respondent is held to “ha[ve] waived any argument that the denial of the motion

       to continue violated his [or her] constitutional rights.” In re J.E., ¶ 14 (citing In re

       S.M., 375 N.C. 673, 679 (2020)); see also In re A.L.S., 374 N.C. at 517.

¶ 12         “Moreover, ‘[r]egardless of whether the motion raises a constitutional issue or

       not, a denial of a motion to continue is only grounds for a new trial when [the

       respondent] shows both that the denial was erroneous, and that he [or she] suffered

       prejudice as a result of the error.’ ” In re A.L.S., 374 N.C. at 517 (first alteration in

       original) (quoting Walls, 342 N.C. at 24–25); see also State v. Phillip, 261 N.C. 263,

       266–67 (1964) (“Regardless of whether the defendant bases his appeal upon an error

       of law or an abuse of discretion, it is elementary that to entitle him to a new trial he

       must show not only error but prejudicial error.”).

¶ 13         In this matter, respondent’s counsel did not raise a constitutional argument

       before the trial court. Thus, while respondent appears to suggest that the trial court’s

       denial of the motion to continue was constitutional error, respondent has waived any

       argument to this effect. Respondent has also failed to show prejudice. While

       respondent made an offer of proof concerning the witness’s testimony, the offer of
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       proof is vague. See In re A.L.S., 374 N.C. at 518 (upholding the denial of a motion to

       continue when “respondent-mother’s counsel offered only a vague description of the

       [witness]’s expected testimony”). The offer of proof provided that the witness has had

       contact and been involved with respondent since May of the prior year, saw

       respondent once or twice a month, and connected respondent to services at Lincoln

       Community Health Center. However, it does not say what the witness’s testimony

       would be. There was also no dispute that respondent received some services at

       Lincoln Health Community Center.

¶ 14         Since continuances are not favored, motions to continue “ought not to be

       granted unless the reasons therefor are fully established.” State v. Gibson, 229 N.C.

       497, 501 (1948) (citing Commonwealth v. Millen, 289 Mass. 441, 463 (1935)). Based

       on the record before us, respondent’s offer of proof fails to demonstrate the

       significance of the witness’s potential testimony and any prejudice arising from the

       trial court’s denial of her motion to continue. See In re H.A.J., 377 N.C. 43, 2021-

       NCSC-26, ¶ 13; Phillip, 261 N.C. at 267 (“[A] mere intangible hope that something

       helpful to a litigant may possibly turn up affords no sufficient basis for delaying a

       trial to a later term.” (quoting Gibson, 229 N.C. at 502)). Therefore, we reject

       respondent’s assignment of error.

                              III.   Indian Child Welfare Act

¶ 15         Respondent additionally argues that the trial court failed to comply with its
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       obligations under the ICWA when it had reason to know Daniel had Indian heritage.

       DSS and the guardian ad litem concede that the record fails to establish that the trial

       court complied with the ICWA notice requirements prior to the termination hearing,

       but DSS has supplemented the record on appeal with post-termination-of-parental-

       rights-hearing orders, exhibits, and related materials that DSS contends are salient

       to the ICWA issues on appeal.

¶ 16         We have previously addressed the sufficiency of post-termination-of-parental-

       rights notices and hearings to address compliance with the ICWA in In re E.J.B., 375

       N.C. 95 (2020). In that matter, two tribes responded to the notices and indicated that

       the juveniles “were not ‘Indian children’ as defined in 25 U.S.C. § 1903(4),” but one

       tribe—the United Keetoowah Band of Cherokee Indians tribe—did not respond to the

       notice. Id. at 106. This Court “conclude[d] that the post termination notice sent to the

       Keetoowah Band of Cherokee Indians tribe did not cure the trial court’s failure to

       comply with the [ICWA] prior to terminating respondent-father’s parental rights,”

       id., because the trial court had failed to ensure that DSS used due diligence when

       contacting the tribes, id. (citing 25 C.F.R. § 23.107(b)(1) (2019)). “If a tribe fails to

       respond, the trial court must seek assistance from the Bureau of Indian Affairs prior

       to making its own independent determination.” Id. (citing 25 C.F.R. § 23.105(c)

       (2019)).

¶ 17         The ICWA provides as follows:
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                    If you do not have accurate contact information for a Tribe,
                    or the Tribe contacted fails to respond to written inquiries,
                    you should seek assistance in contacting the Indian Tribe
                    from the [Bureau of Indian Affairs] local or regional office
                    or the [Bureau of Indian Affairs]’s Central Office in
                    Washington, DC (see www.bia.gov).

       25 C.F.R. § 23.105(c) (2020). In In re E.J.B., we thus reversed and remanded to the

       trial court to issue an order requiring that proper notice be sent to the Keetoowah

       Band of Cherokee Indians tribe despite the trial court’s post-termination-hearing

       conclusion that the ICWA did not apply. In re E.J.B., 375 N.C. at 106. Further, we

       instructed the trial court as follows:

                    If the Keetoowah Band of Cherokee Indians tribe indicates
                    that the children are not Indian children pursuant to the
                    [ICWA], the trial court shall reaffirm the order terminating
                    respondent-father’s parental rights. In the event that the
                    Keetoowah Band of Cherokee tribe indicates that the
                    children are Indian children pursuant to the [ICWA], the
                    trial court shall proceed in accordance with the relevant
                    provisions of the [ICWA].

       Id.

¶ 18         In this matter, the trial court also exercised jurisdiction to conduct post-

       termination-of-parental-rights review and hearings. However, in contrast to In re

       E.J.B., the trial court ensured compliance with 25 C.F.R. § 23.105(c) and DSS’s due

       diligence before concluding that the ICWA did not apply. The trial court, after hearing

       the evidence, found and concluded as follows:

                    14. Respondent[-]mother previously reported to OCDSS
                    potential Native American Heritage, specifically the
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Cherokee and Iroquois (Haudenosaunee) Tribes.

15. In 2019, OCDSS initially sent ICWA notices to the
Easter[n] Band of Cherokee Indians and notification to
state-recognized tribes, Haliwa Saponi Indian Tribe and
Sappony Indian Tribe. Non-membership letters were
received from these tribes.

16. After the case was transferred from the foster care
unit to the adoption unit of OCDSS, the agency became
aware that notices previously provided to the above-
mentioned tribes did not comport with ICWA requirements
for notification of the Native American Heritage identified
by [r]espondent[-]mother.

17. In January 2021, OCDSS mailed additional Tribal
Notification Letters, including Consent to Explore
American Indian Heritage, and copies of the Juvenile
Petition, by Certified Mail Return Receipt Requested to the
nine tribes identified as “Iroquis” . . . .

      ....

18. In January 2021, OCDSS mailed additional Tribal
Notification Letters, including Consent to Explore
American Indian Heritage, and copies of the Juvenile
Petition, by Certified Mail Return Receipt Requested to the
three tribes identified as “Cherokee” . . . .

      ....

19. In response to the Tribal Notification Letters and
accompanying documents set forth above, letters of the
juvenile’s non-eligibility status have been received from
eight of the nine tribes identified as “Iroquis” . . . .

      ....

20. Despite confirmation of receipt of the Tribal
Notification Letters and accompanying documents, the
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Onondaga Nation (NY) has not responded to the inquiry.
On March 11, 2021, the assigned social worker called the
Onondaga Nation (NY) to follow up on the notification sent
and left a voice mail message.

21. On March 11, 2021, [OCDSS] sent a letter to the
Indian Child Welfare Services, Bureau of Indian Affairs
Regional Office, Attention Gloria York, 545 Marriot Drive,
Suite 700, Nashville, TN, 37214 requesting assistance to
determine tribal membership eligibility of the juvenile
regarding the identified tribes who have not responded
within the fifteen-day time frame.

....

23. On April 7, 2021, the United States Department of the
Interior Bureau of Indian Affairs issued a Response to
ICWA Child Custody Notification/Request for Indian
Ancestry to the assigned OCDSS social worker . . . . A copy
of the letter was admitted into evidence and is hereby
incorporated by reference.

24. The Bureau of Indian Affairs specified in relevant part
as follows:

       a. The BIA acknowledges that you have notified the
       family’s identified Tribe(s) Tuscarora, Tonawanda,
       Mohawk,      Seneca,    Oneida,    EBCI,    Cayugo,
       Onondaga, and Keetoowah based on your inquiry
       with the family according to 25 U.S.C. § 1912.

       b. You have identified that Onondaga and
       Keetoowah have not responded. At this point, you
       have done due diligence and completed your ICWA
       responsibilities.

25. On May 20, 2021, the assigned social worker received
an email from the Cherokee Nation (OK) confirming the
juvenile’s non-eligibility status. A copy of which was
admitted into evidence, and hereby incorporated by
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reference.

26. On April 26, 2021, the United Keeto[o]wah Band of
Cherokee (OK) issued a letter of the juvenile’s non-
eligibility status. A copy of which was admitted into
evidence, and hereby incorporated by reference.

27. In response to the Tribal Notification Letters and
accompanying documents set forth above, letters or written
correspondence of the juvenile’s non-eligibility status have
been received from the three tribes identified as
“Cherokee” . . . .

        ....

28. While OCDSS has not received a letter regarding the
juvenile’s eligibility status with the Onondaga, the Bureau
of Indian Affairs determined that OCDSS conducted due
diligence and completed responsibilities under the Indian
Child Welfare Act.

29. In accordance with 25 U.S.C. § 1912, OCDSS complied
with notification requirements to determine whether the
juvenile was a member or eligible for membership in . . . a
federally recognized Indian Tribe.

30. The [c]ourt has sufficient, credible evidence to
determine that the juvenile is not an Indian Child as
defined by the Indian Child Welfare Act.

....

HAVING MADE THE PRECEDING FINDINGS, THE
COURT CONCLUDES AS FOLLOWS:

1. This [c]ourt has jurisdiction, both personal and
subject matter, and all parties have been properly served
and are properly before the [c]ourt.

2.     OCDSS   has   complied     with      ICWA   notification
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                    requirements as set forth herein.

                    3. The juvenile is not an Indian Child as defined by
                    25 U.S.C. § 1912.

                    4. The Indian Child Welfare Act (ICWA) does not apply
                    to the juvenile and subsequent custody or adoption
                    proceedings.

¶ 19         As reflected in the foregoing findings of fact and conclusions of law by the trial

       court, the trial court ensured that DSS used due diligence in contacting and working

       with the tribes. Response letters were received from all tribes but one, and all

       response letters received indicated that Daniel was not eligible for membership in the

       respective tribe. For the one tribe that did not provide a response letter, DSS complied

       with 25 C.F.R. § 23.105(c). DSS contacted the Bureau of Indian Affairs, and the

       Bureau of Indian Affairs determined that DSS “ha[d] done [its] due diligence and

       ha[d] completed [its] ICWA responsibilities.” The trial court also concluded that “[t]he

       juvenile is not an Indian Child as defined by 25 U.S.C. § 1912.” Given the foregoing,

       we hold that the trial court has now sufficiently complied with the requirements of

       the ICWA as it pertains to Daniel and cured its prior noncompliance.

¶ 20         To the extent respondent argues that the trial court’s prior noncompliance with

       the ICWA deprived the trial court of jurisdiction to enter orders addressing the

       custody of Daniel, this argument fails. Respondent has not contended, and the record

       does not support that an Indian tribe has exclusive jurisdiction pursuant to 25 U.S.C.

       § 1911(a). Exclusive jurisdiction is only vested in an Indian tribe for a “child custody
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       proceeding involving an Indian child who resides or is domiciled within the

       reservation of such tribe” or “[w]here an Indian child is a ward of a tribal court.” 25

       U.S.C § 1911(a). Further, after ensuring DSS’s due diligence in its compliance with

       the notice requirements of 25 U.S.C. § 1912(a), albeit post-termination, the trial court

       concluded that Daniel is not an Indian child. Thus, we need not address whether and

       what remedy exists for noncompliance with 25 U.S.C. § 1912(a) in a child-custody

       proceeding involving an Indian child as defined by 25 U.S.C. § 1912. In this matter,

       any error by the trial court on account of its belated compliance with the ICWA is not

       prejudicial. Therefore, we affirm the termination order.

                                       IV.    Conclusion

¶ 21         Based on the foregoing analysis, we reject respondent’s arguments on appeal

       concerning the termination order. Respondent has failed to show prejudice as to the

       trial court’s denial of her motion to continue, and the trial court has now complied

       with the ICWA. Accordingly, we affirm the trial court’s termination order.

             AFFIRMED.
